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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
     Plaintiffs,

               v.                                   C.A. No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
     Defendants.


                        CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, Defendant MACOM

Technology Solutions Holdings, Inc. states that it has no parent corporation and that no publicly

held corporation owns more than 10% of its stock.

                                             MACOM TECHNOLOGY SOLUTIONS
                                             HOLDINGS, INC.

                                             By its attorneys,

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Dated: June 7, 2018

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on June 7, 2018

                                              /s/ C. Max Perlman
                                              C. Max Perlman




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